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           E-Signature 1: Greg Van Houten (GVH)
           June 10, 2020 06:00:49 -8:00 [82E34EB50470] [38.122.13.206]
           greg.vanhouten@haynesboone.com (Principal) (Personally Known)
           E-Signature Notary: Tiffany Thrasher (TNT)
           June 10, 2020 06:00:49 -8:00 [D2E0851B6CCF] [4.16.235.6]
           tiffany.thrasher@haynesboone.com
           I, Tiffany Thrasher, did witness the participants named above electronically
           sign this document.




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                                                                                                                                            IN THE UNITED STATES DISTRICT COURT
                                                                                                                                             FOR THE DISTRICT OF NORTH DAKOTA
                                                                                                                                                     WESTERN DIVISION

                                                                                                          BERKLEY NATIONAL INSURANCE                          §
                                                                                                          COMPANY,                                            §
                                                                                                                                                              §
                                                                                                                  Plaintiff,                                  §
                                                                                                                                                              §
                                                                                                          v.                                                  §         C.A. NO. 1:18-CV-00195
                                                                                                                                                              §
                                                                                                          XTO ENERGY, INC.                                    §
                                                                                                                                                              §
                                                                                                                     Defendant, Counter-Plaintiff and         §
                                                                                                                     Third-Party Plaintiff,                   §
                                                                                                                                                              §
                                                                                                          v.                                                  §
                                                                                                                                                              §
                                                                                                          COMMERCE AND INDUSTRY                               §
                                                                                                          INSURANCE COMPANY, TORUS                            §
                                                                                                          NATIONAL INSURANCE COMPANY                          §
                                                                                                          n/k/a STARSTONE NATIONAL                            §
                                                                                                          INSURANCE COMPANY, and SENECA                       §
                                                                                                          SPECIALTY INSURANCE COMPANY,                        §
                                                                                                                                                              §
                                                                                                                     Third-Party Defendants.                  §


                                                                                                                                             AFFIDAVIT OF GREG VAN HOUTEN

                                                                                                                     BEFORE ME, the undersigned Notary Public, on this day personally appeared Greg Van
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                                                                                                          Houten, known to me to be the person whose name is subscribed below, who being duly sworn,

                                                                                                          deposed and stated as follows:

                                                                                                                     1.         My name is Greg Van Houten. I am over twenty-one years of age, have never been

                                                                                                          convicted of a felony, and am fully competent to testify to the matters set forth in this affidavit.

                                                                                                          The facts contained in this affidavit are based on my personal knowledge and are true and correct.

                                                                                                          I am an associate at the law firm of Haynes and Boone, LLP and serve as counsel for XTO Energy

                                                                                                          Inc. (“XTO”) in the above-entitled and numbered matter (the “Lawsuit”).




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                                                                                                                     2.         Attached hereto as Exhibit A is a true and correct copy of the “Drilling Contract

                                                                                                          Between Vastar Resources, Inc. and R&B Falcon Drilling Co.,” dated December 9, 1998.

                                                                                                          Notably, that Drilling Contract is the Drilling Contract that is referenced, analyzed, and referred

                                                                                                          to in the case captioned, In re Deepwater Horizon, 470 S.W.3d 452 (Tex. 2015). Indeed,

                                                                                                          footnote 4 in the opinion remarks that the operative “Drilling Contract was executed on

                                                                                                          December 9, 1998, between Vastar Resources Inc. (BP’s predecessor) and R&B Falcon Drilling

                                                                                                          Co. (Transocean’s predecessor).” See id. at 473, n.4. Although the Drilling Contract was referred

                                                                                                          to throughout the opinion and attached to the parties’ briefing, it was submitted under seal, and is

                                                                                                          not readily available on WestLaw, LexisNexis, or otherwise. However, Transocean Ltd. attached

                                                                                                          the Drilling Contract as Exhibit 10.1 to its Form 10-Q, submitted to the United States Securities

                                                                                                          and Exchange Commission, on June 30, 2010.                   The document is publicly available at:

                                                                                                          https://www.sec.gov/Archives/edgar/data/1451505/000145150510000069/exhibit10_1.htm

                                                                                                                     3.         Attached hereto as Exhibit B is a true and correct copy of the “Master Service

                                                                                                          Agreement” executed between Endeavor Energy Resources, L.P. and Basic Energy Services, L.P.

                                                                                                          on June 18, 2009. That Master Service Agreement (“MSA”) is the MSA that was analyzed in the

                                                                                                          case captioned, Ironshore Specialty Ins. Co. v. Aspen Underwriting, Ltd., 788 F.3d 456
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                                                                                                          (5th Cir. 2015). The MSA was attached as Exhibit 2 to Plaintiff Ironshore Specialty Insurance

                                                                                                          Company’s Motion for Summary Judgment, filed on December 7, 2012, at Docket Number 34-5.


                                                                                                                                                         *      *      *




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                                                                                                                                                                             Greg Van Houten
                                                                                                                                                                              Signed on 2020/06/10 06:00:49 -8:00




                                                                                                                                                                           Greg Van Houten


                                                                                                                                          SWORN TO AND SUBSCRIBED before me on this 10th day of June 2020.

                                                                                                                                                                                                                                                              D2E0851B6CCF




                                                                                                                                Tiffany Thrasher
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